Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 1 of 58 Page ID #:1324




                   Exhibit 5
Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 2 of 58 Page ID #:1325
                                    ZACHERY BRADLEY                       October 8, 2018



 1                    UNITED STATES DISTRICT COURT
 2                    CENTRAL DISTRICT OF CALIFORNIA
 3
 4   NEFTALI MONZON, as Personal   )
     Representative of the         )
 5   Estate of JUNEF RAGADIO       )
     MONZON and individually;      )
 6   MARYLOU MONZON, as Personal   )
     Representative of the         )
 7   Estate of JUNEF RAGADIO       )
     MONZON and individually;      )
 8   JERRICO REYES, an             )
     individual,                   )
 9                                 )
               Plaintiffs,         )
10                                 )
         v.                        )           Case No.
11                                 )           2:17-CV-13712
     CITY OF MURRIETA, a           )
12   governmental entity; SCOTT    )
     MONTEZ, an individual;        )
13   CHRIS ZELTNER, an             )
     individual; KYLE MIKOWSKI,    )
14   an individual; ZACH           )
     BRADLEY, an individual AND    )
15   BLAKE WILLIAMS, an            )
     individual, and DOES 1        )
16   through 10,                   )
                                   )
17             Defendants.         )
     ______________________________)
18
19                   DEPOSITION OF ZACHERY BRADLEY
20                MONDAY, OCTOBER 8, 2018, 10:07 A.M.
21                         CORONA, CALIFORNIA
22
23           Reported by R. Kelly Jacobson, CSR No. 8361
                          CLS Job No. 90156A
24
25                    CENTEXTLEGAL.COM - 855.CENTEXT


                                                                                      1
                                 CENTEXT LEGAL SERVICES
                                      855.CENTEXT
Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 3 of 58 Page ID #:1326
                                    ZACHERY BRADLEY                       October 8, 2018



 1                    UNITED STATES DISTRICT COURT
 2                    CENTRAL DISTRICT OF CALIFORNIA
 3
 4   NEFTALI MONZON, as Personal   )
     Representative of the         )
 5   Estate of JUNEF RAGADIO       )
     MONZON and individually;      )
 6   MARYLOU MONZON, as Personal   )
     Representative of the         )
 7   Estate of JUNEF RAGADIO       )
     MONZON and individually;      )
 8   JERRICO REYES, an             )
     individual,                   )
 9                                 )
               Plaintiffs,         )
10                                 )
         v.                        )           Case No.
11                                 )           2:17-CV-13712
     CITY OF MURRIETA, a           )
12   governmental entity; SCOTT    )
     MONTEZ, an individual;        )
13   CHRIS ZELTNER, an             )
     individual; KYLE MIKOWSKI,    )
14   an individual; ZACH           )
     BRADLEY, an individual AND    )
15   BLAKE WILLIAMS, an            )
     individual, and DOES 1        )
16   through 10,                   )
                                   )
17             Defendants.         )
     ______________________________)
18
19
20          DEPOSITION OF ZACHERY BRADLEY, taken at
21   4740 Green River Road, Suite 203, Corona, California, on
22   Monday, October 8, 2018, at 10:07 a.m., before
23   R. Kelly Jacobson, Certified Shorthand Reporter, in and
24   for the State of California.
25


                                                                                      2
                                 CENTEXT LEGAL SERVICES
                                      855.CENTEXT
Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 4 of 58 Page ID #:1327
                                    ZACHERY BRADLEY                       October 8, 2018



 1   APPEARANCES:
 2
 3   For Plaintiffs:
 4             LAW OFFICES OF DALE K. GALIPO
               BY: DALE K. GALIPO, ESQ.
 5             21800 Burbank Boulevard, Suite 310
               Woodland Hills, California 91367
 6             818.347.3333
               dgalipo@galipolaw.com
 7
                           -and-
 8
                  LAW OFFICES OF DALE K. GALIPO
 9                BY: MARCEL F. SINCICH, ESQ.
                  21800 Burbank Boulevard, Suite 310
10                Woodland Hills, California 91367
                  818.347.3333
11                msincich@galipolaw.com
12                      -and-
13                THE SEHAT LAW FIRM
                  BY: CAMERON SEHAT, ESQ.
14                18881 Von Karman Avenue, Suite 850
                  Irvine, California 92612
15                949.825.5200
                  cameron@sehatlaw.com
16
     For Defendants:
17
                  FERGUSON, PRAET & SHERMAN
18                BY: PETER J. FERGUSON, ESQ.
                  1631 East 18th Street
19                Santa Ana, California 92705
                  714.953.5300
20
                        -and-
21
                  FERGUSON, PRAET & SHERMAN
22                BY: ALLEN CHRISTIANSEN, ESQ.
                  1631 East 18th Street
23                Santa Ana, California 92705
                  714.953.5300
24                achristiansen@law4cops.com
25


                                                                                      3
                                 CENTEXT LEGAL SERVICES
                                      855.CENTEXT
Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 5 of 58 Page ID #:1328
                                    ZACHERY BRADLEY                       October 8, 2018



 1          APPEARANCES CONT.
 2
            Also Present:
 3
                        SCOTT MONTEZ
 4
     CHRISTOPHER ZELTNER
 5
     BLAKE WILLIAMS
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25


                                                                                      4
                                 CENTEXT LEGAL SERVICES
                                      855.CENTEXT
Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 6 of 58 Page ID #:1329
                                    ZACHERY BRADLEY                       October 8, 2018



 1                A    Thank you.
 2                Q    And what is that going to be in?
 3                A    Law enforcement leadership.
 4                Q    Okay.    You went to the police academy at some
 5          point?
 6                A    Yes, I did.
 7                Q    When did you do that?
 8                A    April of 2008 until October 1st of 2008.
 9                Q    Okay.    And what type of work did you generally
10          do before you went to the academy?
11                A    I was in the United States Marine Corps.
12                Q    From what years?
13                A    June of 2003 until April of 2008.
14                Q    And where did you go to the academy?
15                A    I went to the San Diego Regional Academy.
16                Q    Okay.    You have some training there with
17          respect to tactics?
18                A    Yes.
19                Q    And use of force?
20                A    Yes.
21                Q    Would that include both deadly force and less
22          lethal force?
23                A    Yes.
24                Q    Did you have to study something called POST
25          Learning Domains?



                                                                                     11
                                 CENTEXT LEGAL SERVICES
                                      855.CENTEXT
Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 7 of 58 Page ID #:1330
                                    ZACHERY BRADLEY                       October 8, 2018



 1                A    Yes.
 2                Q    After graduating from the academy where did
 3          you first go to work?
 4                A    The San Diego Police Department.
 5                Q    Okay.    And how long were you there for?
 6                A    I was employed with San Diego Police from
 7          April of 2008 until July of 2014.
 8                Q    Okay.    What was your position or positions,
 9          generally, there?
10                A    Patrol officer.
11                Q    Okay.    And when -- did you come to Murrieta
12          Police Department at some point?
13                A    Yes, I did.
14                Q    And when was that?
15                A    July of 2014.
16                Q    Do you remember the approximate date of this
17          incident we're here to talk about?
18                A    I believe so.
19                Q    What is your best recollection?
20                A    October 22nd, 2016.
21                Q    Okay.    What was your assignment at the time?
22                A    I was working overtime in patrol.
23                Q    You were in a uniform?
24                A    Yes, I was.
25                Q    And in a marked vehicle?



                                                                                     12
                                 CENTEXT LEGAL SERVICES
                                      855.CENTEXT
Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 8 of 58 Page ID #:1331
                                    ZACHERY BRADLEY                       October 8, 2018



 1          about the case.
 2                  Q   Okay.    Let's talk a little bit about this
 3          case.
 4                      At some point you hear a call and you respond?
 5                  A   Yes.
 6                  Q   And there was a vehicle pursuit?
 7                  A   After I had already responded.
 8                  Q   Right.    At some point, you were the second car
 9          in the pursuit?
10                  A   Yes.
11                  Q   Did you have an understanding as to who was in
12          the first car?
13                  A   Yes.
14                  Q   And who was that?
15                  A   Officer Zeltner.
16                  Q   Okay.    And are the other officers that were
17          involved in the incident here in this room today?
18                  A   Most of them.
19                  Q   Okay.    Which -- I don't know them by -- simply
20          by face, so this nice gentleman to your far right, who
21          is that?
22                  A   Officer Zeltner.
23                  Q   Okay.    And then the nice gentleman next to
24          you?
25                  A   Sgt. Montez.



                                                                                     14
                                 CENTEXT LEGAL SERVICES
                                      855.CENTEXT
Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 9 of 58 Page ID #:1332
                                    ZACHERY BRADLEY                       October 8, 2018



 1                Q    And we have another nice gentleman at the end
 2          of the table.      Who is that?
 3                A    Officer Blake Williams.
 4                Q    Thank you.     I know these other two nice
 5          gentlemen on both sides of the table.
 6                     So were you calling out the pursuit at some
 7          point?
 8                A    Toward the very end, yes.
 9                Q    Okay.    And the pursuit ended up on a -- on a
10          street or road where the shooting occurred?
11                A    Correct.
12                Q    Do you know the name of that street or road?
13                A    I believe it might be Mesa.
14                Q    Okay.    I have some pictures I'm going to show
15          you in a moment.
16                     Before the pursuit got to Mesa, did you have
17          any information that the -- anyone in the vehicle that
18          you were pursuing had a weapon?
19                MR. FERGUSON:      Other -- you mean like a handgun?
20                     Objection, vague.
21          BY MR. GALIPO:
22                Q    Yeah.    Like a handgun or a knife or anything
23          like that.
24                A    I did not know for sure anyone had a weapon
25          and I didn't know for sure anyone did not have a weapon.



                                                                                     15
                                 CENTEXT LEGAL SERVICES
                                      855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 10 of 58 Page ID
                                      #:1333
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  Q    Okay.    Fair to say you didn't have any
 2            specific information one way or the other?
 3                  A    Yes.
 4                  Q    Okay.    Did you have any specific information
 5            that anyone in the car had injured anyone?
 6                  A    Not yet.
 7                  Q    Okay.    During the pursuit were there any
 8            accidents, actual collisions that you saw?
 9                  A    No.
10                  Q    Did you know how many people were in the
11            vehicle?
12                  A    I did not.
13                  Q    Did you know if there were children in the
14            vehicle?
15                  A    I did not.
16                  Q    Would that be all the way up until the time of
17            the shooting?
18                  A    Yes, it would.
19                  Q    Did you have an understanding as to why the
20            vehicle was being pursued in the first place at the time
21            of the pursuit?
22                  A    Yes, I did.
23                  Q    What was your understanding?
24                  A    The vehicle had been reported stolen.
25                  Q    Okay.    All right.     So when the vehicle went



                                                                                      16
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 11 of 58 Page ID
                                      #:1334
                                         ZACHERY BRADLEY                   October 8, 2018



 1            obviously knew that there was a cul-de-sac because we
 2            had reached the end of the road.
 3                    Q     Okay.     That's what I was trying to get at.
 4            Okay.       Fair enough.
 5                    MR. GALIPO:       Okay.   I want to show you a few
 6            photographs and I'll just identify some of them and then
 7            we might talk about a few of them during your deposition
 8            and -- wow.          They're even pre-numbered.    That's pretty
 9            good.
10                 (Exhibit 1 marked)
11            BY MR. GALIPO:
12                    Q     All right.     Exhibit 1, does it look like that
13            was the vehicle that you were pursuing and that was
14            eventually involved in this incident?
15                    A     Yes.
16                 (Exhibit 2 marked)
17            BY MR. GALIPO:
18                    Q     Exhibit 2, does this look to be a photograph
19            showing part of Mesa and a couple of patrol cars?
20                    A     Yes.
21                    Q     The front patrol car, would that be the
22            primary officer that was in the pursuit?
23                    A     Primary and initiating officer, yes.
24                    Q     And then it's hard to see a little bit, but
25            the vehicle directly behind that, that would be your



                                                                                      18
                                      CENTEXT LEGAL SERVICES
                                           855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 12 of 58 Page ID
                                      #:1335
                                      ZACHERY BRADLEY                      October 8, 2018



 1            vehicle?
 2                  A    Yes.
 3                 (Exhibit 3 marked)
 4            BY MR. GALIPO:
 5                  Q    All right.     Exhibit 3, does that show part of
 6            Mesa from another angle?
 7                  A    It appears.
 8                  Q    Do you know which way Mesa runs?
 9                  A    I believe it runs north and south.
10                  Q    Do you know which way when your vehicle -- at
11            some point your vehicle came to a stop on Mesa; is that
12            correct?
13                  A    When I put the brakes on, yes.
14                  Q    Right.    And you got out of your car at some
15            point, is that also correct?
16                  A    Yes.
17                  Q    Which way was the front of your car facing
18            when it -- after you put the brakes on and you came to a
19            stop and got out?
20                  A    South.
21                  Q    Okay.    Thank you.     So is this photograph,
22            Exhibit 3, generally looking to the south?
23                  A    It appears to be.
24                  Q    Okay.    Can you tell if either of the vehicles
25            depicted in Exhibit 3 is your vehicle that you were



                                                                                      19
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 13 of 58 Page ID
                                      #:1336
                                      ZACHERY BRADLEY                      October 8, 2018



 1            BY MR. GALIPO:
 2                  Q    Thank you.     All right.
 3                       Exhibit 9, what does that show?
 4                  A    It shows a deputy taking notes, the suspect's
 5            vehicle and it looks like Officer Zeltner's vehicle and
 6            probably my vehicle.
 7                 (Exhibit 10 marked)
 8            BY MR. GALIPO:
 9                  Q    All right.     Exhibit 10?
10                  A    This one shows the deputy, the suspect's car,
11            Officer Zeltner's car and my car.
12                 (Exhibit 11 marked)
13                 (Exhibit 12 marked)
14            BY MR. GALIPO:
15                  Q    Okay.    I'm going to show you two more and then
16            I'm going to ask you some questions.
17                       Exhibit 11 --
18                  A    This shows Officer Zeltner's vehicle, my
19            vehicle.    It shows Officer Mikowski's vehicle after it
20            had been crashed into and moved and then
21            Officer Williams' vehicle.
22                  Q    Okay.    Exhibit 12?
23                  A    This shows the suspect's vehicle,
24            Officer Zeltner's vehicle, my vehicle.            And then like I
25            said, Officer Mikowski's vehicle after it had been run



                                                                                      24
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 14 of 58 Page ID
                                      #:1337
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  Q    Okay.    And when you pulled onto Mesa did you
 2            have your lights and sirens on?
 3                  A    Yes, I did.
 4                  Q    And do you know if the patrol vehicle in front
 5            of you also did?
 6                  A    I believe it did.       I know it definitely had
 7            its lights on.
 8                  Q    Do you know if your -- at any time before the
 9            shooting you activated your spotlights?
10                  A    I don't recall if I did.
11                  Q    Do you recall if any other units --
12                  A    I don't recall.
13                  Q    When you got out of your car, I'm assuming you
14            got out on the driver's side?
15                  A    Yes.
16                  Q    Where did you go to?
17                  A    I went to the front passenger side of the
18            vehicle in front of me.
19                  Q    Okay.    And whose vehicle was that again?
20                  A    Officer Zeltner's.
21                  Q    Why did you go there?
22                  A    To conduct a hot stop.
23                  Q    You were envisioning a series of commands that
24            you're trained to do in that type of situation?
25                  A    Yes.



                                                                                      27
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 15 of 58 Page ID
                                      #:1338
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  Q    Would it be fair to say it -- it never got to
 2            that because the vehicle continued to move?
 3                  A    Commands were given.
 4                  Q    Did you give any commands?
 5                  A    Yes.
 6                  Q    What were your commands?
 7                  A    To stop the vehicle and get out.
 8                  Q    And anything else?
 9                  A    "Show us your hands."
10                  Q    Anything else?
11                  A    I kept repeating "stop the vehicle."
12                  Q    Okay.    Did you see the vehicle make a turn at
13            some point when it got to the end of the street?
14                  A    Yes, I did.
15                  Q    Can you describe what you observed the vehicle
16            do regarding the turn?
17                  A    It appeared to be like a multi-point U-turn.
18                  Q    Like a three-point turn?
19                  A    I think it was more than three.          I don't --
20            I'm not a hundred percent sure.
21                  Q    Okay.    In any event, it looked like it was
22            turning around?
23                  A    Yes.
24                  Q    And at that point did you -- at least you have
25            the impression that there was a -- a cul-de-sac?



                                                                                      28
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 16 of 58 Page ID
                                      #:1339
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  A    Yes.
 2                  Q    And were you -- when the vehicle was turning
 3            around, were you on the passenger side of the first
 4            patrol vehicle?
 5                  A    Yes.
 6                  Q    Okay.    And did you know where any of the other
 7            officers were at that point when the vehicle was turning
 8            around?
 9                  A    At the moment it was turning around I only
10            knew that Officer Zeltner was on the driver's side of
11            his vehicle.
12                  Q    Okay.    And do you know if the -- either one of
13            the doors, either the passenger or driver's door were
14            open at that time?
15                  A    Of whose vehicle?
16                  Q    The vehicle you were standing next to.
17                  A    I know the passenger door wasn't open.            I'm
18            not sure if he had the driver's open.            I didn't have a
19            chance to open it.       It was that quick.
20                  Q    Okay.    The position that you chose -- and I'll
21            show you Exhibit 10 -- am I correct that the second
22            vehicle would be your vehicle, the one I'm pointing to?
23                  A    That is my vehicle.
24                  Q    I'm just going to put a circle around it.
25                       Why did you position your vehicle in that



                                                                                      29
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 17 of 58 Page ID
                                      #:1340
                                      ZACHERY BRADLEY                      October 8, 2018



 1            position?
 2                  A     The training that we received in San Diego has
 3            us fan our vehicles out and offset.
 4                  Q     Okay.   Did you have -- based on your training
 5            up to that point in time, did you believe you could
 6            shoot at this vehicle merely for fleeing?
 7                  A     No.
 8                  Q     And what training did you have in that regard
 9            that you could not shoot at a vehicle such as a stolen
10            vehicle merely for fleeing?
11                  A     The academy, briefing trainings, policy and
12            procedures at both agencies.
13                  Q     Okay.   Did you have any training with respect
14            to in a pursuit, particularly in a scenario like this
15            where the vehicle may come to a residential street or
16            possibly a dead end or a cul-de-sac, whether you should
17            position your vehicle to block the car in?
18                  MR. FERGUSON:      Objection, calls for speculation.
19            Vague and ambiguous.       Overbroad.
20            BY MR. GALIPO:
21                  Q     Your fine lawyer is going to be making some
22            objections, but as long as you understand my question
23            and -- and unless he instructs you not to answer,
24            you're -- you're allowed to answer the question.
25                  A     Can you just kind of repeat it?



                                                                                      30
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 18 of 58 Page ID
                                      #:1341
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  Q    Sure.    Did you have any training with respect
 2            to whether you should or should not block in a fleeing
 3            vehicle?
 4                  A    Yes.
 5                  Q    What is your training in that regard?
 6                  A    Generally should not block vehicles in.
 7                  Q    Okay.    And what were you trained in that
 8            regards?    Why should you not block vehicles in?
 9                  A    Because it creates a dangerous situation.
10                  Q    So it looks like in the position that your car
11            is parked, you're not in a position to block the car in.
12                       Is that fair?
13                  A    That is fair.
14                  Q    And were you attempting to block the car in in
15            any way when you positioned your car?
16                  A    Absolutely not.
17                  Q    Okay.    Did it appear to you that the patrol
18            car in front of yours was positioned to block the car
19            in?
20                  A    No.
21                  Q    Okay.    Did you ever see an impact between the
22            stolen vehicle and your car?
23                  A    My police car?
24                  Q    Yes.
25                  A    No.



                                                                                      31
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 19 of 58 Page ID
                                      #:1342
                                      ZACHERY BRADLEY                      October 8, 2018



 1                   Q   Why did you start moving back towards your
 2            car?
 3                   A   Based on the way the vehicle was turning
 4            around I thought it was going to flee again and I was
 5            moving back to my vehicle to continue the pursuit.
 6                   Q   Okay.    When -- when you say "the way the
 7            vehicle was moving around," you mean observing it doing
 8            this turning motion, turning movement?
 9                   A   Yes.
10                   Q   Okay.    Did you, yourself, ever actually see
11            the vehicle strike Officer Zeltner's car?
12                   A   I may have, but I do remember hearing it.
13            I -- I wouldn't have seen the impact because it was on
14            the other side.      I wouldn't have seen the vehicle moving
15            at that time.
16                   Q   Do you have any understanding as to what part
17            of the van struck what part of Officer Zeltner's car?
18                   A   I don't recall.
19                   Q   Okay.    I take it when the van was turning
20            around it was going relatively slow.
21                       Is that fair?
22                   MR. FERGUSON:     Objection, vague.
23            BY MR. GALIPO:
24                   Q   You may answer.
25                   A   I believe -- it appeared to me that it was



                                                                                      33
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 20 of 58 Page ID
                                      #:1343
                                      ZACHERY BRADLEY                      October 8, 2018



 1            trying to move around rapidly.
 2                    Q   Do you have any estimate as to its speed as
 3            it --
 4                    A   No.
 5                    Q   -- was turning around?
 6                    A   No.
 7                    Q   Okay.    When, in your mind, you thought the
 8            vehicle was going to continue to flee, did you
 9            immediately think you should shoot the driver?
10                    A   No.
11                    Q   And why not based on your training?
12                    A   Because at that point in time it's more
13            dangerous to shoot the driver than to not.             We had a
14            stolen vehicle and felony evading at that point.
15                    Q   Why, based on your training, would it be more
16            dangerous to shoot the driver?
17                    A   When the driver's not presenting a threat and
18            you shoot them you can render the vehicle into a more
19            dangerous situation.
20                    Q   As part of your training were you trained that
21            shooting the driver of a moving vehicle could disable
22            the driver?
23                    A   When shooting at the driver?
24                    Q   Right.
25                    A   Yes.



                                                                                      34
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 21 of 58 Page ID
                                      #:1344
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  Q    And it could make it difficult for the driver
 2            to safely operate the car?
 3                  A    Correct.
 4                  Q    Okay.    So when you say more dangerous, I'm
 5            sure there's a lot of aspects to that, but one of the
 6            parts would be disabling the driver and causing the
 7            driver not to be able to safely drive the car?
 8                  MR. FERGUSON:      Objection, vague.
 9            BY MR. GALIPO:
10                  Q    Is that fair?
11                  A    Yes.
12                 (Exhibit 14 marked)
13                 (Exhibit 15 marked)
14            BY MR. GALIPO:
15                  Q    Okay.    I want to show you Exhibit 14.
16                       At any time before you fired your shots, did
17            you give any verbal warning that you were going to
18            shoot?
19                  A    No.
20                  Q    At any time -- strike that.
21                       Did you hear shots before you fired your
22            shots?
23                  A    Yes, I did.
24                  Q    How many shots did you hear, approximately?
25                  A    I don't recall.



                                                                                      35
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 22 of 58 Page ID
                                      #:1345
                                       ZACHERY BRADLEY                     October 8, 2018



 1                    Q   Do you have any estimate?
 2                    A   No.
 3                    Q   Where were you or what were you doing when you
 4            heard the first group of shots?
 5                    A   I was still moving back towards my vehicle.
 6                    Q   At any time before you heard the first group
 7            of shots, did you, based on your observation, see anyone
 8            that appeared to be about to be run over by the car?
 9                    MR. FERGUSON:     Objection --
10                    THE WITNESS:     At -- at the time that I heard the
11            first set of shots, I did not see anybody that was about
12            to run over, but --
13            BY MR. GALIPO:
14                    Q   Okay.
15                    A   -- I had no visual observation of the driver's
16            side of the SUV.
17                    Q   Okay.    Did you hear any warning that shots
18            were going to be fired from anybody before you heard the
19            first group of shots?
20                    A   I did not.
21                    Q   Were you expecting the first group of shots?
22                    A   I was not.
23                    Q   Were you surprised to hear those shots at the
24            time?
25                    A   I was.



                                                                                      36
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 23 of 58 Page ID
                                      #:1346
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  Q    Did you know who was shooting at the time?
 2                  A    I did not.
 3                  Q    Did you have anything in your hands when you
 4            heard the first group of shots?
 5                  A    My firearm.
 6                  Q    Okay.    So your firearm was still in your --
 7            one of your hands?
 8                  A    Yes.
 9                  Q    Are you right-handed or left-handed?
10                  A    I'm right-handed.
11                  Q    Okay.    I notice that you have -- you're
12            wearing eyeglasses today?
13                  A    Yes.
14                  Q    And do you -- are you nearsighted or
15            far-sighted or --
16                  A    I have astigmatism.
17                  Q    Okay.    So it helps with that?
18                  A    It does.
19                  Q    When you work do you wear any corrective
20            lenses?
21                  A    Sometimes if I remember them.
22                  Q    Okay.    Do you know if you remembered to wear
23            them on the date of the incident or not?
24                  A    I don't recall.
25                  Q    Okay.    When you do remember to wear them,



                                                                                      37
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 24 of 58 Page ID
                                      #:1347
                                       ZACHERY BRADLEY                     October 8, 2018



 1                    A   Similar, but I don't remember what it was for
 2            sure.
 3                    Q   Okay.     Did you have similar type training at
 4            the police academy?
 5                    A   Yes.
 6                    Q   Okay.     And I'm going to just -- I'm going to
 7            read it into the record, but I'm going to read a
 8            sentence and then ask you a question --
 9                    A   Okay.
10                    Q   -- and the policy is 300.4.1 entitled
11            "Shooting at or from moving vehicles."
12                    MR. FERGUSON:     Are you going to read the entire
13            policy?
14                    MR. GALIPO:     Yes, I am.
15                    MR. FERGUSON:     Okay.
16                    MR. GALIPO:     I wouldn't want to leave anything out.
17            BY MR. GALIPO:
18                    Q   "Shots fired at or from a moving vehicle are
19            rarely effective."
20                        That's part of the policy, as you understand
21            it?
22                    A   I believe that's the first sentence of the
23            policy.
24                    Q   Yeah, and I don't mean to -- and that was part
25            of your training as well?



                                                                                      39
                                    CENTEXT LEGAL SERVICES
                                         855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 25 of 58 Page ID
                                      #:1348
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  A     Yes.
 2                  Q     Okay.   "Officers should move out of the path
 3            of an approaching vehicle instead of discharging their
 4            firearm at the vehicle or any of its occupants."
 5                        Is that part of the policy?
 6                        You can read the second sentence and see if I
 7            read it correctly.
 8                  A     Yes.
 9                  Q     That was part of your training as well?
10                  A     Yes.
11                  Q     "An officer should only discharge a firearm at
12            a moving vehicle or its occupants when the officer
13            reasonably believes there are no other reasonable means
14            available to avert the threat of the vehicle, or if
15            deadly force, other than the vehicle, is directed at the
16            officer or others."
17                        Is that your -- and you can double-check it.
18                  A     Yes.
19                  Q     Okay.   Now, the -- the -- and that's part of
20            the policy, as you understand it, and also part of your
21            training?
22                  A     Yes.
23                  Q     Okay.   So when it refers to "deadly force
24            other than the vehicle being directed at the officers,"
25            would that be like if the person in the car has a gun



                                                                                      40
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 26 of 58 Page ID
                                      #:1349
                                      ZACHERY BRADLEY                      October 8, 2018



 1            pointed at the officers?
 2                  A    Can you restate it?
 3                  Q    Yeah.    It says that "An officer should only
 4            discharge a firearm at a moving vehicle or its occupants
 5            when the officer reasonably believes there are no
 6            reasonable means available to avert the threat of the
 7            vehicle, or if deadly force other than the vehicle is
 8            directed at the officer or others."
 9                  A    Yes.    Okay.
10                  Q    So was it your understanding that the
11            reference to deadly force other than the vehicle would
12            be like if the person in the car has a gun pointed at
13            the officers?
14                  A    I believe that's what that intends.
15                  Q    Okay.    And then "No other reasonable means
16            available to avert the threat."           Is it your
17            understanding that would include being able to get out
18            of the way?
19                  A    I believe that that means that if there's no
20            time to get out of the way, that that would be a
21            situation that would be okay to shoot.
22                  Q    Okay.    So generally speaking, is it fair to
23            say that your general training as a police officer up to
24            this point in time was, first of all, if you have a
25            vehicle pursuit involving a stolen vehicle you cannot



                                                                                      41
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 27 of 58 Page ID
                                      #:1350
                                      ZACHERY BRADLEY                      October 8, 2018



 1            shoot the vehicle just for fleeing?
 2                       Is that fair?
 3                  A    Yes.
 4                  Q    And that if you can avoid blocking the car in
 5            you should do that?
 6                  MR. FERGUSON:      Objection.       Misstates testimony.
 7            Calls for speculation as framed.              Vague and ambiguous.
 8            BY MR. GALIPO:
 9                  Q    Was that part of your training as well?
10                  A    Yes.
11                  Q    Okay.    And if you can avoid positioning
12            yourself in the path of the vehicle you should do that?
13                  MR. FERGUSON:      Objection, incomplete hypothetical.
14            Vague and ambiguous.
15                  THE WITNESS:      Yes.
16            BY MR. GALIPO:
17                  Q    And if the vehicle appears to be coming in
18            your direction you should get out of the way if you can?
19                  MR. FERGUSON:      Objection, incomplete hypothetical.
20            Vague and ambiguous.
21                  THE WITNESS:      Only if the time allows, yes.
22            BY MR. GALIPO:
23                  Q    Right.    Obviously, if the vehicle appears to
24            be coming in your direction and if time allows you
25            should get out of the way?



                                                                                      42
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 28 of 58 Page ID
                                      #:1351
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  A    Yes.
 2                  Q    Rather than shooting?
 3                  A    If you have time and the option.
 4                  Q    Okay.    And that's generally your understanding
 5            of the policy?
 6                  A    Yes.
 7                  Q    Okay.    So do you recall where you were in
 8            relation to your car when you heard the first group of
 9            shots?
10                  A    I was approximately in between
11            Officer Zeltner's car and my car.
12                  Q    Looking at Exhibit 12, you think you could
13            possibly make an X where you were, approximately, when
14            you heard the first group of shots?
15                  A    (Witness complies).
16                  Q    Okay.    Thank you.
17                       And you made an X in between -- essentially in
18            between the two vehicles?
19                  A    Between Officer Zeltner's car and my car, yes.
20                  Q    Now, you -- you indicated that you were
21            initially on the passenger side of Officer Zeltner's
22            car; is that correct?        When you first went up to the
23            passenger side of his car.
24                  A    When I went to conduct the hot stop, yes.
25                  Q    Okay.    And were you -- I assume you initially



                                                                                      43
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 29 of 58 Page ID
                                      #:1352
                                       ZACHERY BRADLEY                     October 8, 2018



 1            but more on the passenger side?
 2                    A   I would -- yeah, on the passenger side, not in
 3            between the two cars.         I hadn't made it there.       I didn't
 4            have time.
 5                    Q   Okay.     And when you hear the shots do you
 6            stop?
 7                    A   Yes.
 8                    Q   And do you look to see what's going on?
 9                    A   Yes.
10                    Q   And at that point do you see the van?
11                    A   When I heard the shots first, no.
12                    Q   I assume at the time you heard the shots you
13            did not see the van at that point?
14                    A   Correct.
15                    Q   The shots caused you to stop and look?
16                    A   Yes.
17                    Q   And when you stopped and looked, then you saw
18            the van?
19                    A   Yes.
20                    Q   Okay.     And do you have an estimate as to how
21            much time it was between hearing the shots and stopping
22            and looking?        Was it pretty quick --
23                    A   Milliseconds.
24                    Q   Milliseconds.
25                    A   Yes.



                                                                                      45
                                    CENTEXT LEGAL SERVICES
                                         855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 30 of 58 Page ID
                                      #:1353
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  Q    Okay.    And then from looking, do you have an
 2            estimate as to how soon you saw the van?
 3                  A    Almost immediately.
 4                  Q    Okay.    And where was the van, approximately --
 5            and we can go back -- maybe we can even use Exhibit 10.
 6            Where was -- or 12 or any other one you want.
 7                       Where was the van, approximately, when you
 8            looked after hearing the shots and saw it?
 9                  A    It would have emerged -- looking at
10            Exhibit 10, it would have emerged on the driver's side
11            of Officer Zeltner's car.
12                  Q    Okay.    In the -- were you looking at it,
13            essentially, through the space between the two cars?
14                  A    Yes.
15                  Q    Okay.    Now, do you know if your vehicle had
16            video recording equipment?
17                  A    It had something like that, yes.
18                  Q    And did you do anything in the investigation
19            to turn over either the audio or video?
20                  A    I don't think it recorded like that.            The
21            video equipment I had was the LPRs, license plate
22            readers.
23                  Q    Okay.
24                  A    If you're referring to dash cams, I didn't
25            have a dash cam.



                                                                                      46
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 31 of 58 Page ID
                                      #:1354
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  Q    Okay.    You did do some recording after the
 2            incident, audio recording?
 3                  A    I believe so.
 4                  Q    Okay.    Did you have the impression when you
 5            saw the vehicle turning around and you started back
 6            towards your car that the pursuit was going to continue?
 7                  A    At that moment, yes.
 8                  Q    And did you think in your mind that this
 9            person was still trying to get away?
10                  A    At that point, yes.
11                  Q    When you first saw the vehicle after you heard
12            the shots; so you hear the shots, you stop, you're kind
13            of in -- in that space between the cars, you look and
14            you see the van emerging from the driver's side of
15            Officer Zeltner's vehicle; is that correct?
16                  A    That is correct.
17                  Q    Did you shoot initially at that point?
18                  A    No.
19                  Q    And is one of the reasons you didn't shoot
20            because of some of your training and the policy that we
21            talked about?      At that point you did not see immediate
22            threat of death or serious bodily injury to anyone?
23                  A    Correct.
24                  Q    When you fired your -- your first shots was
25            two shots; is that correct?



                                                                                      47
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 32 of 58 Page ID
                                      #:1355
                                      ZACHERY BRADLEY                      October 8, 2018



 1                    A   I believe so.
 2                    Q   Okay.   And what part of the car were you
 3            firing into when you fired those two shots?
 4                    A   I was aiming at the driver's side window.
 5                    Q   Okay.   Do you know if the window was up or
 6            down?
 7                    A   I don't recall.
 8                    Q   And were you aiming at a particular part of
 9            the driver?
10                    A   I was aiming at the shoulder area of the
11            driver.
12                    Q   Okay.   So you would have been to the side of
13            the car -- or to the driver's side of the car when you
14            were firing.
15                        Is that fair?
16                    MR. FERGUSON:    Objection, vague.
17                    THE WITNESS:    I was on the driver's side of the
18            car.
19            BY MR. GALIPO:
20                    Q   Okay.   Did you think that the car was about to
21            run you over, for example?
22                    A   I did not believe the car was about to run me
23            over.
24                    Q   Okay.   Did you know where Officer Zeltner was
25            when you fired your first two shots?



                                                                                      48
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 33 of 58 Page ID
                                      #:1356
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  A    I did not.
 2                  Q    How much time would you say passed between
 3            seeing the car after you heard the first group of shots
 4            and you firing your first two shots?
 5                  A    Maybe a second.
 6                  Q    Okay.    And how much time would you say passed
 7            from your first two shots to your last shot?
 8                  A    I couldn't tell you.        Mere seconds.
 9                  Q    Did you hear any other shots going off during
10            the time you were shooting?
11                  A    No.
12                  Q    So you heard the first group of shots?
13                  A    Yes.
14                  Q    Then you stop and -- and see the vehicle.               You
15            make an assessment at some point.             You fired two shots
16            after about a second.
17                       Do I have it right so far?
18                  A    Roughly.     It's -- it's an estimation.         From
19            the time of seeing the vehicle emerge past
20            Officer Zeltner's car, I scanned the area and saw that
21            the van was driving directly at Officer Mikowski and
22            Williams and that's when I made the decision to shoot,
23            however long that took.
24                  Q    Okay.
25                  A    To me it felt like milliseconds.



                                                                                       49
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 34 of 58 Page ID
                                      #:1357
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  Q    Okay.    And then was it also milliseconds
 2            between the first two shots and the last shot?
 3                  A    That one was slightly longer.          That decision
 4            was made after the vehicle continued to drive at them,
 5            ramming the vehicle.
 6                  Q    Okay.    So I want to get into the ramming of
 7            the vehicle in a -- in a second, but just so I -- I have
 8            it clear in my mind, did you fire your last shot before
 9            or after the van made contact with the patrol vehicle?
10                  A    I fired it -- it's my recollection that the
11            vehicle struck Officer Mikowski's car twice.             I fired it
12            after the first time it rammed it and I heard the engine
13            continue to rev as though it was going to continue to
14            either hit the vehicle or drive over my partners.               So I
15            decided to shoot again.
16                  Q    Okay.    When you reviewed your statement
17            recently did you review the transcript?
18                  A    I didn't read through all of it.
19                  Q    Didn't read through all of it?
20                  A    No.
21                  Q    Is there any particular reason why not?
22                  A    I didn't have time.
23                  Q    And when were you first provided with the
24            statement?
25                  A    I don't remember.       It's been awhile.



                                                                                      50
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 35 of 58 Page ID
                                      #:1358
                                      ZACHERY BRADLEY                      October 8, 2018



 1            the incident occurred sometime around 1:00 o'clock in
 2            the morning.
 3                   Q   Did you say you were working overtime?
 4                   A   Yes.
 5                   Q   Do you know what time your shift started that
 6            day?
 7                   A   1800.    6:00 p.m. Pacific time.
 8                   Q   Now, where were you aiming when you fired your
 9            last shot?
10                   A   Towards the head area.
11                   Q   Of the driver?
12                   A   Of the driver.
13                   Q   Okay.    Obviously, based on your training, you
14            were aware that shooting someone with a gun could cause
15            serious injury or death.
16                       Is that fair?
17                   A   Yes.
18                   Q   And you were aware of that when you fired your
19            shots?
20                   A   Yes.
21                   Q   You said -- did you say that you observed the
22            van make contact with the officer's vehicle twice?
23                   A   Yes.
24                   Q   Okay.    And which -- is this Officer Mikowski's
25            vehicle?



                                                                                      52
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 36 of 58 Page ID
                                      #:1359
                                      ZACHERY BRADLEY                      October 8, 2018



 1                    A   Yes.
 2                    Q   Was that the third one in line; in other
 3            words, it was Zeltner, your vehicle and then Mikowski?
 4                    A   Correct.    It was the one that I pointed to
 5            that had been pushed back several feet.
 6                    Q   Had been pushed back several feet, yes.
 7                    A   Yes.
 8                    Q   Do you know if there were skid marks on the
 9            ground showing that it had been pushed back several
10            feet?
11                    A   I don't recall.      I left the scene before
12            daybreak.
13                    Q   Did you ever see any pictures showing skid
14            marks?
15                    A   I don't recall.
16                    Q   In any event, what part of the van came in
17            contact with what part of Officer Mikowski's vehicle?
18                    A   I think the front part of the van contacted
19            the front part of Officer Mikowski's vehicle.
20                    Q   Front to front?
21                    A   Yes.
22                    Q   Okay.   And did it appear that it was pretty
23            much centered to center or did they appear offset?
24                    A   I don't recall exactly.
25                    Q   Okay.   Do you know -- when you were shooting



                                                                                      53
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 37 of 58 Page ID
                                      #:1360
                                      ZACHERY BRADLEY                      October 8, 2018



 1            at the shoulder area of the driver, how far was the
 2            driver from you, approximately?
 3                  A    Maybe 15, 20 feet.       Length of a vehicle.
 4                  Q    Okay.    And were you in some type of a shooting
 5            stance when you were shooting?
 6                  A    Yes.
 7                  Q    Two-handed shooting stance?
 8                  A    Yes.
 9                  Q    Do you have an estimate as to the speed of the
10            van when you fired your first two shots?
11                  A    I don't.
12                  Q    Do you know if it was going more or less than
13            10 miles an hour?
14                  A    I don't know for a fact.           I have never been
15            trained in speed estimation.
16                  Q    You've been a driver for quite a period of
17            time, I take it?
18                  A    Yes.
19                  Q    And what would you estimate the speed of the
20            van when you fired your shot to be?
21                  A    I don't know.      That would be speculation.
22                  Q    I -- I thought you said that the van had
23            already struck the front of the vehicle when you fired
24            the shot to the head?
25                  A    I did.



                                                                                      54
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 38 of 58 Page ID
                                      #:1361
                                      ZACHERY BRADLEY                      October 8, 2018



 1            time?
 2                    A   Yes.
 3                    Q   You might have known their names, but you
 4            didn't, in glancing to the left, know who was where?
 5                        Is that fair?
 6                    A   No, I knew who was where.
 7                    Q   You knew who was where?
 8                    A   Yes.    Well, except for Sgt. Montez.        I didn't
 9            see him ever.
10                    Q   He was probably keeping a low profile.
11                    A   I doubt it.
12                    Q   Okay.   Have you -- in -- in -- in -- since
13            this incident has happened, have you ever gone back to
14            the scene to do any walk-throughs?
15                    A   No.
16                    Q   Okay.   So when you glance to your left which
17            officers did you see?
18                    A   I saw Officer Mikowski and Officer Williams in
19            between Officer Mikowski's car and the berm.
20                    Q   So let's see if I can get a picture to help us
21            out here.
22                        I'm going to pick a couple out and then you
23            let me know if any of them are helpful.
24                        Okay.   Maybe I'm -- let's try 11, but I'm not
25            sure how great it is, but I think I understand what



                                                                                      56
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 39 of 58 Page ID
                                      #:1362
                                      ZACHERY BRADLEY                      October 8, 2018



 1            you're saying.
 2                       Does -- does 11 show Officer Mikowski's
 3            vehicle?
 4                  A    Yes, it shows his vehicle after it had been
 5            rammed.
 6                  Q    Would it be fair to say that all of the
 7            pictures that show Officer Mikowski's vehicle, if I
 8            asked you, you would say it was after it was rammed?
 9                  A    Yes.
10                  Q    Okay.    So you saw these officers on -- would
11            it be the driver's side of Officer Mikowski's vehicle?
12                  A    Yes.
13                  Q    Okay.    And was the door of Officer Mikowski's
14            vehicle open or closed at that time?
15                  A    I don't recall.
16                  Q    Were the lights -- the flashing lights of the
17            vehicle on?
18                  A    Yes.
19                  Q    How about the siren?
20                  A    I don't believe so.        When we put our vehicles
21            into park the siren goes off.
22                  Q    Okay.    Did you ever observe the -- the
23            vehicle, the van, drive to the -- drive to the driver's
24            side of Officer Mikowski's vehicle?
25                  A    I thought that's where the van was going to go



                                                                                      57
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 40 of 58 Page ID
                                      #:1363
                                      ZACHERY BRADLEY                      October 8, 2018



 1            because that was the only place it could have possibly
 2            gone to escape.      It was trying to flee.
 3                  Q    Did it ever go there?
 4                  A    No, it hit Officer Mikowski's vehicle.
 5                  Q    And you were estimating -- how far were they
 6            from the front of the van when you made this
 7            observation?
 8                  MR. FERGUSON:      Objection, vague.
 9                  THE WITNESS:      I didn't estimate that.        You didn't
10            ask me that yet.
11            BY MR. GALIPO:
12                  Q    I didn't ask you that, but you were asked that
13            in your statement.       I'm just --
14                  A    Oh.
15                  Q    -- wondering what your estimate would be as to
16            how far they were from the van when you made this
17            observation?
18                  A    Maybe -- maybe 30, 40 feet.         I'm not sure.
19                  Q    And you don't know what the speed of the
20            vehicle was at that time?
21                  A    No.
22                  Q    And looking at Exhibit 10, does this show the
23            left front part of Officer Mikowski's vehicle?
24                  A    I believe so.
25                  Q    Okay.    I'm going to put an "M" there just so



                                                                                      58
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 41 of 58 Page ID
                                      #:1364
                                      ZACHERY BRADLEY                      October 8, 2018



 1            we'll know.
 2                        Okay.   So you're saying that the van made
 3            impact with the front of Mikowski's vehicle; is that
 4            correct?
 5                  A     Yes.
 6                  Q     Okay.   And you're also saying that the
 7            officers that you saw, the two -- Mikowski and Williams,
 8            was it?
 9                  A     Yes.
10                  Q     -- were on the driver's side of Mikowski's
11            vehicle when you glanced to the left?
12                  A     Yes.
13                  Q     Okay.   Where on the driver's side were they?
14            Were they in the area of the doors of the vehicle?
15                  A     Officer Mikowski was more towards the front
16            and Williams was standing back behind him.
17                  Q     When you say "more towards the front," you
18            mean on the driver's side, but more a little forward of
19            the door?
20                  A     I'm not sure specifically because I don't
21            recall if the door was open or not.
22                  Q     And to the left, to the driver's side of their
23            vehicle, wasn't it essentially dirt?
24                  A     It was a dirt berm.
25                  Q     Showing you Exhibit 5, I think, and correct me



                                                                                      59
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 42 of 58 Page ID
                                      #:1365
                                      ZACHERY BRADLEY                      October 8, 2018



 1            if I'm wrong, we previously indicated that the -- this
 2            was your vehicle where I'm pointing to with my pen.
 3                  A    Yes, it appears that's my vehicle.
 4                  Q    Okay.    Which was the second vehicle?
 5                  A    Yes.
 6                  Q    Okay.    I'll circle that.
 7                       And then the vehicle, which is in this
 8            picture, looks like the -- the back hatch is up, that
 9            would be Officer Mikowski's vehicle?
10                  A    I believe so, yes.
11                  Q    Okay.    And in between the back of your vehicle
12            and the front of Officer Mikowski's vehicle you believe
13            there was room for the car to pass in between?
14                  A    At the time, no.
15                  Q    No, I'm asking you now.
16                  A    Yeah, because the vehicle created space after
17            it collided into his car and pushed it back.
18                  Q    And you said it pushed it back 2 feet?
19                  A    No, I said several feet.
20                  Q    Oh, I thought you said 2 feet.          I may have
21            misunderstood you.
22                       So in looking at this picture now, are you
23            saying there is room -- was -- there is room between the
24            back of your car and the front of Officer Mikowski's car
25            for the vehicle to pass through on the street?



                                                                                      60
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 43 of 58 Page ID
                                      #:1366
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  A    Yes, but this picture was taken after the
 2            shooting had occurred.
 3                  Q    I understand.
 4                  A    Okay.
 5                  Q    Are you aware of any pictures that were taken
 6            before the shooting occurred?
 7                  A    No.
 8                  Q    So it would be fair to say that all of these
 9            pictures, to your knowledge, were taken afterward?
10                  A    Yes.
11                  Q    Okay.    Let me show you Exhibit 6.
12                       Does this also show the back of your patrol
13            vehicle?
14                  A    Yes, it does.
15                  Q    And the front of Mikowski's?
16                  A    I believe so, yes.
17                  Q    Okay.    I'll put another "M" there.
18                       So the space you're saying, at least as we see
19            it in this picture, that the van could have passed
20            through without going to the driver's side of Mikowski's
21            vehicle would be, essentially, in between the back of
22            your car and the front of Mikowski's vehicle on the
23            street?
24                  MR. FERGUSON:      Objection, calls for speculation.
25            Misstates his testimony.         Vague.       Incomplete as framed.



                                                                                      61
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 44 of 58 Page ID
                                      #:1367
                                      ZACHERY BRADLEY                      October 8, 2018



 1            BY MR. GALIPO:
 2                  Q    You may respond.
 3                  A    It appears that he may have been able to, yes.
 4                  Q    What would you estimate, looking at Exhibit 6,
 5            the distance between the back of your unit and the front
 6            of Mikowski's unit, at least in this picture?
 7                  A    In this picture, it looks like maybe 12 feet.
 8            Maybe.
 9                  Q    Okay.    And do you have an understanding as to
10            what the width is of a -- the front of a vehicle, about
11            6 feet?
12                  A    Give or take, yes.
13                  Q    And you're saying that you observed the
14            vehicle make impact with the front of Mikowski's car?
15            You actually saw that?
16                  A    Yes.
17                  Q    And so it would have been front to front?
18                  A    Yes.
19                  Q    Okay.    And are you saying that your last shot,
20            the head shot, you fired after that impact?
21                  A    In between the first impact and the second
22            impact, yes.
23                  Q    But -- okay.      Just wanted to make sure.
24                       But after the impact, at least the first
25            impact with Officer Mikowski's vehicle is when you fired



                                                                                      62
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 45 of 58 Page ID
                                      #:1368
                                      ZACHERY BRADLEY                      October 8, 2018



 1            the head shot?
 2                  A    Yes.
 3                  Q    So when you fired the head shot are you saying
 4            that the front of the van was touching the front of
 5            Mikowski's vehicle?
 6                  A    I don't believe so.        I believe that it hit it,
 7            pushed it back and then the engine was accelerating and
 8            getting ready to hit it again.
 9                  Q    Where were you positioned -- where were you
10            positioned when you were taking this head shot?
11                  A    I was standing in the same place as my first
12            two shots.     The vehicles were that close.          I could see
13            it.   That's how far back it pushed it.           I could see it
14            over my hood.
15                  Q    Hold on one second, please.
16                       You made an "X" on 12.
17                  A    Yes.
18                  Q    Is that about where you were when you fired
19            your shots?
20                  A    Approximately, yes.
21                  Q    And you're saying you were in approximately
22            that same position for not only your first two shots,
23            but your third shot?
24                  A    Yes.
25                  Q    So you're saying that you took this head shot



                                                                                      63
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 46 of 58 Page ID
                                      #:1369
                                      ZACHERY BRADLEY                      October 8, 2018



 1            after the front of the van impacted the front of
 2            Mikowski's vehicle from where we see the "X" on
 3            Exhibit 12?
 4                    A   Yes.
 5                    Q   And what part of the vehicle were you shooting
 6            through to get this head shot?
 7                    A   I wasn't shooting through any part of the
 8            vehicle.     I said the impact took place closer to over
 9            here and I had a clear vision of the vehicle over my
10            hood.
11                    Q   No.    What I'm wondering is, were you shooting
12            through the driver's side window area still --
13                    A   Correct.
14                    Q   -- for the head shot?
15                    A   Yes.
16                    Q   And you don't have any estimate as to the
17            speed of the vehicle?        Was it momentarily stopped at
18            that point?
19                    A   I don't have an estimate as to the speed of
20            the vehicle.
21                    Q   Do you know if it was going more or less than
22            five miles an hour?
23                    A   I don't know for sure.
24                    Q   Do you know if it was stopped at the moment
25            you took the head shot?



                                                                                      64
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 47 of 58 Page ID
                                      #:1370
                                      ZACHERY BRADLEY                      October 8, 2018



 1                    A   I don't know for sure.
 2                    Q   And were you in a shooting stance also for the
 3            head shot?
 4                    A   Yes.
 5                    Q   Before your -- before you took the head
 6            shot -- strike that.
 7                        I know you heard the first group of shots
 8            before you fired any shot; is that correct?
 9                    A   Yes.
10                    Q   What I'm wondering is before you took your
11            head shot did you hear any other shots being fired
12            during that time that you were firing?
13                    A   I believe they were close to about the same
14            time.
15                    Q   As your head shot?
16                    A   Yes.
17                    Q   Do you know where the officers were at the
18            time you took your head shot in relation to the car?
19                    MR. FERGUSON:    Asked and answered.
20                    THE WITNESS:    Yeah, Officer Mikowski and
21            Officer Williams were on the driver's side of the
22            vehicle now closer to the vehicle because it had been
23            pushed back.       I still didn't know where Sgt. Montez or
24            Officer Zeltner were.
25            ///



                                                                                      65
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 48 of 58 Page ID
                                      #:1371
                                      ZACHERY BRADLEY                      October 8, 2018



 1            BY MR. GALIPO:
 2                  Q    Okay.     So are you saying that if -- you took
 3            your head shot after the front of the van made impact
 4            with the front of Officer Mikowski's vehicle.
 5                       Do I have that correct?
 6                  A    You do.
 7                  Q    And you're saying that at about the time you
 8            took your head shot, at the same time or soon
 9            thereafter, you heard other shots?
10                  A    Roughly, yes.
11                  Q    Okay.     And did you believe that -- the
12            officers that were shooting were who at that time?
13                  A    I didn't know for sure who was shooting.
14                  Q    Okay.     Do you have an understanding now as to
15            who was shooting in those last group of shots?
16                  A    Yes.
17                  Q    What's your understanding?
18                  A    Officer Mikowski and Officer Williams.
19                  Q    Okay.     And you -- when you saw them, at least
20            during your shooting sequence, they were on the driver's
21            side of Officer Mikowski's car?
22                  A    Yes.
23                  Q    You just don't remember if the door was open
24            or closed?
25                  A    Correct.



                                                                                      66
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 49 of 58 Page ID
                                      #:1372
                                      ZACHERY BRADLEY                      October 8, 2018



 1            impact?
 2                  A     I don't recall.
 3                  Q     When you skimmed through it, did you see any
 4            reference to Mikowski's vehicle being pushed back?
 5                  A     I don't recall.
 6                  Q     Now, at some point did you see the van going
 7            backwards?
 8                  A     Yes.
 9                  Q     And where did -- so it just started going
10            backwards at some point?
11                  A     Yes.
12                  Q     Did you form the impression it was in reverse
13            or neutral at the time?
14                  A     That was my belief.
15                  Q     Okay.   And when it went backwards did it hit
16            any cars?
17                  A     No.
18                  Q     So it -- it did not hit your car and did not
19            hit Officer Zeltner's car?
20                  A     No.
21                  Q     And did it back up to this position that we
22            see in Exhibit 12?
23                  A     Yes.
24                  Q     And I think there's a few others.          Exhibit 2
25            shows it and Exhibit 10 shows it in its resting position



                                                                                      71
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 50 of 58 Page ID
                                      #:1373
                                      ZACHERY BRADLEY                        October 8, 2018



 1            as well?
 2                   A   Yes.
 3                   Q   Exhibit 6 -- it's kind of hard to see, but in
 4            the background?
 5                   A   Yes.
 6                   Q   How fast was the car going when it reversed?
 7                   A   Slow.
 8                   Q   How slow?
 9                   A   I'm not trained in speed estimation.            I
10            couldn't tell you.
11                   Q   Well, you probably have a speedometer on your
12            car.
13                   A   Yes.
14                   Q   Okay.    I mean, was it less than five miles an
15            hour would you say?
16                   A   I can't state for sure.
17                   Q   Showing you Exhibit 15, okay, does this also
18            show in the background the -- the van?
19                   A   Yes, it does.
20                   Q   Would you agree based on your training, under
21            the circumstances of this case, if no officers were
22            about to be struck by the car -- I'm just giving you an
23            hypothetical.
24                   A   Okay.
25                   Q   Assuming that no officers were about to be



                                                                                        72
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 51 of 58 Page ID
                                      #:1374
                                      ZACHERY BRADLEY                      October 8, 2018



 1            struck by the van, would you agree, based on your
 2            training, it would be inappropriate to shoot?
 3                  MR. FERGUSON:      Objection, incomplete hypothetical.
 4            Vague and ambiguous.       Vague.
 5                  THE WITNESS:      That's not what I believe was going
 6            to happen in this incident.
 7            BY MR. GALIPO:
 8                  Q    No, I know that, but, I mean, if you were
 9            just -- I just want to assume, hypothetically, that the
10            van was moving in a direction where no officers were
11            about to be struck by it -- I understand you had a
12            different belief -- but just based on your training, if
13            no officers were about to be struck by the van, could
14            you shoot the van just for fleeing?
15                  MR. FERGUSON:      Same objections.      Vague and
16            ambiguous.     Incomplete hypothetical as framed.
17                  THE WITNESS:      In an incident where a suspect is
18            fleeing and there are no people, officers in danger, it
19            would be inappropriate to shoot.
20                       That is not this incident.
21            BY MR. GALIPO:
22                  Q    Okay.    But the danger, as I understand it from
23            your training, has to be an immediate threat of death or
24            serious bodily injury.
25                  MR. FERGUSON:      Imminent.



                                                                                      73
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 52 of 58 Page ID
                                      #:1375
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  MR. GALIPO:     Pardon?
 2                  MR. FERGUSON:      Imminent.
 3                  THE WITNESS:      Reasonable belief.
 4            BY MR. GALIPO:
 5                  Q    Okay.    A reasonable belief of an imminent or
 6            immediate threat of death or serious bodily injury.
 7                  A    Yes.
 8                  Q    Okay.    When you studied deadly force in the
 9            academy and POST Learning Domains, do you remember there
10            being instruction on deadly force?
11                  A    Yes.
12                  Q    And do you remember that the POST Learning
13            Domains talked about deadly force being a last resort
14            only to be used in the direst of circumstances?
15                  A    Something to that effect.
16                  Q    Do you remember the learning domain talking
17            about the reverence for human life?
18                  A    Yes.
19                  Q    Do you remember POST Learning Domains talking
20            about deadly force should only be used when there are no
21            other reasonable alternatives?
22                  A    Absolutely.
23                  Q    And that's part of your training?
24                  A    Yes.
25                  Q    Do you remember the POST Learning Domains



                                                                                      74
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 53 of 58 Page ID
                                      #:1376
                                      ZACHERY BRADLEY                      October 8, 2018



 1            talking about that a verbal warning that you're going to
 2            use deadly force should be given when feasible?
 3                  A     Only when feasible and if there's time.
 4                  Q     And do you recall in your initial statement
 5            you saying that you were pretty sure the driver's side
 6            window was down of the van?
 7                  A     My initial statement to the deputies?           I -- I
 8            don't recall.
 9                  Q     In terms of stepping out of the way of the
10            vehicle rather than shooting, we talked about that;
11            right?
12                        Part of the policy to step out of the way --
13            "Officers should move out of the path of an approaching
14            vehicle instead of discharging their firearm at the
15            vehicle or any of its occupants."
16                        Do you remember that was one sentence of the
17            policy we talked about?
18                  A     Yes, if there's time.         Absolutely.
19                  Q     Okay.   And did you have that training with the
20            Murrieta Police Department before the time of this
21            incident?
22                  A     Yes.
23                  Q     Did you have any understanding as to how long
24            Officer Mikowski had been with the Murrieta Police
25            Department before the date of the incident?



                                                                                      75
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 54 of 58 Page ID
                                      #:1377
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  A    I don't recall.
 2                  Q    Do you recall that happening at some point
 3            after the incident?
 4                  A    I know we said not to talk about it because of
 5            the investigation that was going to be pending.
 6                  Q    Okay.    When you say "We said not to talk about
 7            it," would those be the police officers?
 8                  A    The police officers and the supervisors, yes.
 9                 (Exhibit 19 marked)
10            BY MR. GALIPO:
11                  Q    All right.     Exhibit 19, do you know if
12            that's the -- the -- who was driving the car, out of the
13            car in that photo?
14                  A    I believe it is probably the driver, but I
15            can't see a face.
16                 (Exhibit 20 marked)
17            BY MR. GALIPO:
18                  Q    Okay.    Exhibit 20, can you kind of see the
19            face there?
20                  A    Yes.
21                  Q    Okay.    And is that the driver of the vehicle?
22                  A    Yes, it is.
23                  Q    Okay.    And do you know when he was -- how was
24            he taken out of the car?
25                  A    Through the driver's side door.



                                                                                      79
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 55 of 58 Page ID
                                      #:1378
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  Q    Do you know who took him out of the car?
 2                  A    I don't remember, no.
 3                  Q    Do you know how much time passed from the time
 4            of the shooting to the time he was taken out of the car?
 5                  A    Not specifically.       Maybe a minute or two.
 6                  Q    One or two minutes would be your estimate?
 7                  A    Roughly, yes.
 8                  Q    Do you know if he was still alive at that
 9            point?
10                  A    I don't know.
11                  Q    Okay.    I'm going to go through your statement.
12            I realize you only skimmed through it or breezed through
13            it or something.
14                       So there may be a few pauses in my questions
15            and if there's a pause it might be because we've already
16            covered the topic and I don't want to ask again, so just
17            bear with me.      We're almost done.
18                  MR. FERGUSON:      Do you have another copy of this?
19                  MR. GALIPO:     Not with my underlining, but we can
20            get you a copy if you want.
21                       This was exchanged, I believe, in discovery.
22            It has your -- I have your Bates Stamps.
23                       Does that help you?
24                  MR. FERGUSON:      Yeah.    I just didn't know if you
25            made another copy.       That's all I'm asking you.



                                                                                      80
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 56 of 58 Page ID
                                      #:1379
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  Q     Can you turn to Page 17 of 34, please.
 2                        Investigator Alfaro, on Line 6, is asking you,
 3            "So when you saw the vehicle he's accelerating?              It
 4            wasn't like it was stopped?"
 5                        And your response is, "No, he at no point in
 6            time that's -- he -- my perception was that it was slow,
 7            but I can hear the engine was revving."
 8                        Do you see that response?
 9                  A     I do.
10                  Q     So when you say it was slow are you referring
11            to the suspect vehicle?
12                  A     Yes.
13                  Q     Going to Page 20, Lines 2 and 3, you say --
14            well, maybe we should look at the question on the bottom
15            of the prior page.       This is referencing when you're
16            looking over in the direction of the officers.
17                  A     Yes.
18                  Q     Okay.   And your response at the top of
19            Page 20 is, "Yeah, I didn't -- I didn't recognize them.
20            I just saw officers outside of their car and in the
21            pathway."
22                        So do you -- would you agree at the time of
23            your statement you didn't know who the officers were?
24                  A     At the time of the statement?         I -- I -- I
25            knew who it was because the incident had occurred.



                                                                                      86
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 57 of 58 Page ID
                                      #:1380
                                      ZACHERY BRADLEY                      October 8, 2018



 1                  Q     Right.    But -- but at the time you looked over
 2            would you agree you didn't recognize them?
 3                  A     That's the statement I gave, yes.
 4                  Q     Okay.    At the top of Page 21 you say, "So I
 5            heard shooting and then my initial thought was guy in
 6            the vehicle fleeing.       He can go because generally we
 7            don't like to shoot at cars because it can be -- it's
 8            known to be ineffective.         So that ..."
 9                        And then Investor -- Investigator Alfaro says,
10            "I understand that.       So at that point, you actually
11            assessed.     You don't shoot for that specific reason."
12                        And then you say, "Yeah."
13                        Do you see that part of your statement?
14                  A     I do.
15                  Q     We kind of talked about that a little bit
16            today earlier?
17                  A     Yes.
18                  Q     Now, going to Page 22 of your statement,
19            Lines 9 through 12, Alfaro asked you, "Okay --" you can
20            look at 10, actually.        "When the vehicle crashed did you
21            hear more gun fire?"
22                        And you said "I don't recall."
23                        Do you see that?
24                  A     Yes.
25                  Q     So would it be correct to say after the



                                                                                      87
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
     Case 2:17-cv-01371-RGK-SK Document 69-4 Filed 11/26/18 Page 58 of 58 Page ID
                                      #:1381
                                      ZACHERY BRADLEY                      October 8, 2018



 1            BY MR. GALIPO:
 2                  Q    Did you have a chance to -- to look through
 3            some of your statement?
 4                  A    Yes, I did.
 5                  Q    Okay.    And would you agree, at least in what
 6            you reviewed, you don't see any reference to you firing
 7            after the impact between the suspect vehicle and
 8            Officer Mikowski's vehicle?
 9                  A    Correct.
10                  Q    And you don't see any reference of there being
11            two impacts to the vehicle.
12                       Is that fair?
13                  A    Yes.
14                  Q    Do you remember drawing a diagram at the time
15            of your initial interview?
16                  A    I believe I did.
17                  MR. GALIPO:     I think we're good.        So I'll ask you,
18            will you be okay if I don't ask you any more questions?
19                  THE WITNESS:      I will be fine.
20                  MR. GALIPO:     Pete, do you have any questions today?
21                  MR. FERGUSON:      No questions.
22                  MR. GALIPO:     I propose that we stipulate to relieve
23            the court reporter of her custodial duties with regards
24            to the original deposition transcript; we'll forward the
25            original to Pete's office, who will make it available



                                                                                      90
                                   CENTEXT LEGAL SERVICES
                                        855.CENTEXT
